        Case 1:16-cr-00097-cr Document 77 Filed 12/21/23 Page 1 of 1




                               NOTICE OF HEARING


             UNITED STATES DISTRICT COURT
                                     FOR THE
                              DISTRICT OF VERMONT




United States of America

       v.                                                Case No. 1:16-cr-97-1

Phillip Wilson


TAKE NOTICE that the above-entitled case is scheduled for Wednesday, January 3, 2024
at 11:00 a.m., in Burlington, Vermont, before the Honorable Kevin J. Doyle, Magistrate
Judge, for a Preliminary Revocation Hearing.


Location: Burlington – 410 Courtroom                     JEFFREY S. EATON, Clerk
                                                         By: /s/ H. Beth Cota
                                                         Deputy Clerk
                                                         12/21/2023


TO:

Nathanael T. Burris, AUSA

Mark D. Oettinger, Esq.
